                                                                                   Case 3:16-cv-02058-JLS-JLB Document 5 Filed 10/26/16 PageID.15 Page 1 of 1



                                                                                   1    Alex Asil Mashiri, Esq. (SBN 283798)
                                                                                        MASHIRI LAW FIRM
                                                                                   2    A Professional Corporation
                                                                                   3    11251 Rancho Carmel Drive #500694
                                                                                        San Diego, CA 92150
                                                                                   4    Phone: (858) 348-4938
                                                                                   5    Fax: (858) 348-4939
                                                                                   6    Attorney for Plaintiff:
                                                                                   7    HEMIN MIRAN
                                                                                   8
                                                                                                              UNITED STATES DISTRICT COURT
                                                                                   9
                                                                                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                                   10
                                                                                        HEMIN MIRAN                          ) Case No. 16-CV-2058-JLS-JLB
                                                                                   11
                                                                                                                             )
                                                                                   12                Plaintiff,              )
                                                11251 RANCHO CARMEL DR. # 500694




                                                                                               v.                            ) MOTION TO DISMISS ENTIRE
                   A PROFESSIONAL CORPORATION




                                                                                   13
MASHIRI LAW FIRM




                                                                                                                             ) CASE WITH PREJUDICE
                                                       SAN DIEGO, CA 92150

                                                        FAX: (858) 348-4939
                                                        TEL: (858) 348-4938




                                                                                   14   AD ASTRA RECOVERY SERVICES,          )
                                                                                   15
                                                                                        INC.                                 )
                                                                                                                             )
                                                                                   16                 Defendant.             )
                                                                                   17
                                                                                        ____________________________________ )

                                                                                   18         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff HEMIN
                                                                                   19   MIRAN(“Plaintiff”) moves the Court to dismiss all Defendants from the above
                                                                                   20   entitled action, with prejudice. The case has been settled. Each party to bear their on
                                                                                   21   attorneys’ fees and costs.
                                                                                   22   Respectfully submitted,
                                                                                   23
                                                                                        DATED: October 26, 2016                      MASHIRI LAW FIRM
                                                                                   24                                                A Professional Corporation
                                                                                   25
                                                                                                                                     By: /s/ Alex Asil Mashiri
                                                                                   26                                                Alex Asil Mashiri
                                                                                                                                     Attorney for Plaintiff,
                                                                                   27
                                                                                                                                     HEMIN MIRAN
                                                                                   28


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                                                                                                         MOTION TO DISMISS ENTIRE CASE WITH PREJUDICE
